     Case: 4:07-cr-00159-MPM-JMV Doc #: 351 Filed: 03/24/10 1 of 1 PageID #: 892



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI



UNITED STATES OF AMERICA

V.                                                                   CASE NUMBER 4:07CR159

WILLIAM GUILLORY


     ORDER DENYING MOTION FOR TEMPORARY RELEASE FROM CUSTODY

       Presently before the Court is the Defendant’s motion for temporary release to allow the

defendant to attend his grandfather’s funeral services. The Court finds that this motion is not well-

taken and should be denied.

       This the 24th day of March, 2010.




                                              /s/ MICHAEL P. MILLS
                                              CHIEF JUDGE
                                              UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF MISSISSIPPI
